Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 1 of 17

OFFICER'S RETURN

STATE OF CONNECTICUT
ss: Wethersfield, February WU, 2018

COUNTY OF HARTFORD

Then and there by virtue hereof, | served the within named
non-resident defendant, by leaving with the Commissioner of
Motor Vehicles of the State of Connecticut, Agent for Service
for said non-resident defendant, JANINE ROCHELEAU a true and
attested copy of the original Writ, Summons and Complaint
with my endorsement thereon and paid the legal fee of $20.00,
pursuant to Section 52-62 of the C.G.S.

 

ROBERT S. MILLER
STATE MARSHAL
NEW HAVEN COUNTY
Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 2 of 17

   

      

SUMMONS CIVIL STATE OF CONNECTICUT 4%

C.G.S. §§ 51-346, 51-347, 51-349, 51-350, 52-45a, ‘ ‘ SUPERIOR COURT 4

52-48, 52-259, P'B, §§ 3-1 through 3-21, 8-1, 10-13 , a
www.jud.ct.gov

See other side for instructions

| “X" if amount, legal interest or property in demand, not including interest and
costs is less than $2,500.

“X" if amount, legal interest or property in demand, not including interest and
costs is $2,500 or more.

[J x" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer, BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.

 

 

 

Address of court clerk where writ and other papers shall be filed (Number, street, town and zip code) | Telephone number of clerk Return Date (Must be a Tuesday)
(C.G.S. §§ 51-346, 51-350) (with area code)
2 h s vi - March 20 , 2 018
35 Church Street, New Haven 06510 ( 203 ) 503-6800 = eos
x} Judicial District O GA At (Town in which writ is retumable) (C.G.S. §§ 51-346, 51-349) Case type code (See list on page 2)
|] Housing Session Number: New Haven Major; V Minor: 01

 

 

 

 

For the Plaintiff(s) please enter the appearance of:

Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code)
Louis Rubano, Lynch, Traub, Keefe & Errante, 52 Trumbull Street, New Haven 06510 034876

Telephone number (with area code) Signature of Plaintiff (if self-represented)

(203 ) 787-0275

The attorney or law firm appearing for the plaintiff, or the plaintiff if

self-represented, agrees to accept papers (service) electronically in Yes No
this case under Section 10-13 of the Connecticut Practice Book. [x] O LRUBANO @ LTKE.COM

Juris number (to be entered by attomey only)

 

 

 

 

Email address for delivery of papers under Section 10-13 (if agreed io)

 

 

 

 

 

 

 

 

 

 

 

Number of Plaintiffs: 2 Number of Defendants: 3 [_] Form JD-CV-2 attached for additional parties
Parties Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
First Name: Riccio, James P-Of
Plaintiff Address: 78 Wood Chase Lane, North Branford, CT
Additional |Name: Riccio, Madeline P-02
Plaintiff Address: 78 Wood Chase Lane, North Branford, CT
First Name: Conway, Ashley D-01
Defendant | Address: 205 Hazel Street, New Haven, CT 06511
Additional Name: Rocheleau, Janine D-02
Defendant Address: 21 Park Place, 17F, Hartford, CT 06106
Additional | Name: National General Insurance Company d/b/a Integon National Insurance Company D-03
Defendant | Address: c/o Agent for Service: Insurance Comm. Katharine Wade, 153 Market Street, Hartford, CT 06103
Additionat Name: D-04
Defendant | Address:

 

 

 

 

Notice to Each Defendant

1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
against you in this lawsuit.

2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with the clerk of the above-named Court at the above
Court address on or before the second day after the above Return Date. The Return Date is nota hearing date. You do not have to come to court on the
Return Date unless you receive a separate notice telling you to come to court.

3. If you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The "Appearance"
obtained at the Court address above or at www,jud.ctgov under "Court Forms." '

4. If you believe that you havegirjsurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
insurance representative. r action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law

library or on-line at www.jud.¢t.gov under "Court Rules."
5. If you have questions aboutthe Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on

legal questions.
Signed (Sign and *X* proper box) x sommissioner ofthe | Name of Person Signing at Left Date signed
i] rior Cou :
je Louis Rubano 02/01/2018

Assistant Clerk
If this Summons is signed by a Qibrk: For Court Use Only
0 File Date

form may be

 

 

 

 

 

 

 

a. The signing has been done apr the Plaintiff(s) will not be denied access to the courts.

b. It is the responsibility of the’ Plaintiff(s) to see that service is made in the manner provided by law.

c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.

d. The Clerk signing this Summons at the request of the Piaintiff(s) is not responsible in any way for any errors or omissions
in the Summons, any allegations contained in the Complaint, or the service of the Summons or Complaint.

 

! certify | have read and | Signed (Self Represented Plaintiff Date Docket Number

understand the above:

 

 

 

 

(Page 1 of 2)

 
VAMYVeE, ROECE ANY CNAANITO, F.v.

ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

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(203) 787-0275 - JURIS NO. 34876

 

 

Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 3 of 17

RETURN DATE: MARCH 20, 2018 : SUPERIOR COURT

JAMES RICCIO and MADELINE RICCO

V.

JUDICIAL DISTRICT OF NEW HAVEN

AT NEW HAVEN

JANINE ROCHELEAU, ASHLEY CONWAY and : JANUARY 30, 2018
NATIONAL GENERAL INSURANCE COMPANY

D/B/A INTEGON NATIONAL INSURANCE

COMPANY

COMPLAINT

COUNT ONE — ON BEHALF OF JAMES RICCIO
AS TO JANINE ROCHELEAU FOR NEGLIGENCE

 

On or about February 5, 2016 at approximately 4:21 p.m., the plaintiff, JAMES RICCIO, was
operating a motor vehicle southbound on State Street, at its intersection with Grove Street, in
New Haven, Connecticut.

At the same time and place, the defendant, JANINE ROCHELEAU, was operating a motor
vehicle southbound on State Street, at its intersection with Grove Street, in New Haven,
Connecticut.

At the same time and place, while at lawful stop, the vehicle operated by the plaintiff, JAMES
RICCIO, was suddenly and without warning, struck from behind by the motor vehicle operated by
the defendant, causing a collision between the two vehicles.

The aforesaid collision was caused by the negligence of the defendant, JANINE ROCHELEAU, in
one or more of the following ways: |

In that she failed to keep her vehicle under proper and reasonable control;

‘ U:\00000-000 No File Number\LiR\New Complaints\RICCIO V- ROCHELEAU-docx 32:39:53

 
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ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

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(203) 787-0275 - JURIS NO. 34876

 

 

 

Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 4 of 17

In that she failed to maintain a proper look out for other vehicles or conditions on the highway or
to pay attention to where she was heading;

In that she failed to apply her brakes in time or in a sufficient fashion so as to avoid the collision;

In that she failed to sound her horn or to make any attempt whatsoever to give the plaintiff a
timely warning of the impending collision;

in that she failed to turn her vehicle in order io avoid the collision;
In that she failed to otherwise use proper precautions or measures to avoid the collision;
In that she failed to remain awake and alert during her operation of said vehicle;

In that she operated her motor vehicle at a rate of speed greater than what was reasonable in
light of the width, traffic and use of the highway in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of Connecticut General Statutes Section 14-240;

In that she failed to grant the right of way to the motor vehicle operated by the plainiiff in
violation of the common law.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
JAMES RICCIO, suffered the following painful and serious personal injuries, some or all of which
may. be permanent in nature:

Injury to the cervical spine;

Radiculopathy into the right upper extremity;

Associated physical pain and suffering.

 
P.C,

4612 - NEW HAVEN, CT 06505-1612

(203) 787-0275 - JURIS NO. 34876

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ATTORNEYS AT LAW - P.O, BOX

 

 

 

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Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 5 of 17

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
JAMES RICCIO, has suffered and continues to suffer mental anguish, frustration and anxiety over
the fact that he was and remains injured.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
JAMES RICCIO, has incurred and will continue to incur in the future, expenses for medical care
and treatment, including medication, x-rays, diagnostic testing, treatment and therapy, all of
which has caused him and will continue fo cause him loss and damage.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
JAMES RICCIO, was unable to perform the duties of his occupation as he had prior to the above
collision, which caused him financial loss and damage.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
JAMES RICCIO, has suffered and will continue to suffer a decrease in his capacity to engage in

and life’s activities as he was able to do prior to the motor vehicle accident.

COUNT TWO — ON BEHALF OF JAMES RICCIO
AS TO ASHLEY CONWAY FOR VICARIOUS LIABILITY

Paragraphs 1-9 of COUNT ONE are hereby incorporated and made paragraphs 1-9 of COUNT

TWO as if more fully set forth herein.

At all relevant times hereto, the defendant, JANINE ROCHELEAU, was operating a motor vehicle

owned by the defendant, ASHLEY CONWAY, with her full permission and consent.

 
LriWwil, INAYD, REET ANY CRRAAWNITOC, F.v.

ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

(203) 787-0275 - JURIS NO. 34876

 

 

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Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 6 of 17

At all relevant times hereto, the defendant, ASHLEY CONWAY, is vicariously liable to the
plaintiff for the aforesaid negligence of the defendant, JANINE ROCHELEAU.

COUNT THREE — ON BEHALF MADELINE RICCO
AS TO JANINE ROCHELEAU FOR NEGLIGENCE

On or about February 5, 2016 at approximately 4:21 p.m., JAMES RICCIO, was operating a
motor vehicle southbound on State Street, at its intersection with Grove Street, in New Haven,
Connecticut.

At all relevant times hereto, the plaintiff, MADELINE RICCO, was a front passenger in the motor
vehicle operated by JAMES RICCIO.

At the same time and place, the defendant, JANINE ROCHELEAU, was operating a motor
vehicle southbound on State Street, at its intersection with Grove Street, in New Haven,
Connecticut.

At the same time and place, while at lawful stop, the vehicle operated by the plaintiff, JAMES
RICCIO, was suddenly and without warning, struck from behind by the motor vehicle operated by
the defendant, causing a collision between the two vehicles.

The aforesaid collision was caused by the negligence of the defendant, JANINE ROCHELEAU, in
one or more of the following ways:

In that she failed to keep her vehicle under proper and reasonable control;

In that she failed to maintain a proper look out for other vehicles or conditions on the highway or
to pay attention to where she was heading;

in that she failed to apply her brakes in time or in a sufficient fashion so as to avoid the collision;

 
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KEEFE AND ERRANTE,
ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

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(203) 787-0275 - JURIS NO. 34876

 

 

 

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in that she failed to sound her horn or to make any attempt whatsoever to give the plaintiff a
timely warning of the impending collision;

In that she failed to turn her vehicle in order to avoid the collision;
In that she failed to otherwise use proper precautions or measures to avoid the collision;
in that she failed to remain awake and alert during her operation of said vehicle;

In that she operated her motor vehicle at a rate of speed greater than what was reasonable in
light of the width, traffic and use of the highway in violation of the common law;

In that she failed to operate her motor vehicle as nearly as practicable entirely within a single
lane of travel and moved her vehicle from such lane when such movement could not be made with
safety in violation of the common law;

in that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of Connecticut General Statutes Section 14-240;

In that she failed to grant the right of way to the motor vehicle operated by the plaintiff in
violation of the common law.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
MADELINE RICCO, suffered the following painful and serious personal injuries, some or all of
which may be permanent in nature:

Injury to the thoracic spine;

Injury to the lumbar spine;

Left sided rib pain;

Left lower extremity radicular symptoms;

Associated physical pain and suffering.

 
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LIWUM, I RAUB, KEEFE ANU ERRKANIE,

ATTORNEYS AT LAW - P.O. 8OX 1612 - NEW HAVEN, CT 06506-1612

(203) 787-0275 - JURIS NO. 34876

 

 

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As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
MADELINE RICCO, has suffered and continues to suffer mental anguish, frustration and anxiety
over the fact that she was and remains injured. |

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
MADELINE RICCO, has incurred and will continue to incur in the future, expenses for medical care
and treatment, including medication, x-rays, diagnostic testing, treatment and therapy, all of
which has caused her and will continue to cause her loss and damage.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
MADELINE RICCO, was unable to perform the duties of her occupation as she had prior to the
above collision, which caused her financial loss and damage.

As a direct and proximate result of the aforesaid negligence of the defendant, the plaintiff,
MADELINE RICCO, has suffered and will continue to suffer a decrease in her capacity to engage

in and life’s activities as she was able to do prior to the motor vehicle accident.

 
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KEEFE AND ERRANTE,
ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

LYNUM, 1 RAUB,

{203) 787-0275 - JURIS NO. 34876

 

 

Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 9 of 17

COUNT FOUR — ON BEHALF MADELINE RICCO
AS TO ASHLEY CONWAY FOR VICARIOUS LIABILITY

 

1-10. Paragraphs 1-10 of COUNT THREE are hereby incorporated and made paragraphs 1-10 of

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COUNT FOUR as if more fully set forth herein.

At all relevant times hereto, the defendant, JANINE ROCHELEAU, was operating a motor vehicle
owned by the defendant, ASHLEY CONWAY, with her full permission and consent.

At all relevant times hereto, the defendant, ASHLEY CONWAY, is vicariously liable to the
plaintiff for the aforesaid negligence of the defendant, JANINE ROCHELEAU.

COUNT FIVE — ON BEHALF OF JAMES RICCIO

 

AS TO NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON NATIONAL INSURANCE

COMPANY FOR UNINSURED/UNDEINSURED MOTORIST COVERAGE
On or about February 5, 2016 at approximately 4:21 p.m., the plaintiff, JAMES RICCIO, was
operating a motor vehicle southbound on State Street, at its intersection with Grove Street, in
New Haven, Connecticut.
At the same time and place, JANINE ROCHELEAU was operating a motor vehicle southbound on
State Street, at its intersection with Grove Street, in New Haven, Connecticut.
At the same time and place, while at lawful stop, the vehicle operated by the plaintiff, JAMES
RICCIO, was suddenly and without warming, struck from behind by the motor vehicle operated by
JANINE ROCHELEAU, causing a collision between the two vehicles.
The aforesaid collision was caused by the negligence of the JANINE ROCHELEAU in one or

more of the following ways:

 
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KEEFE AND ERRANTE,
ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

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LYNCH,

(203) 787-0275 - JURIS NO. 34876

 

 

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In that she failed to keep her vehicle under proper and reasonable control;

In that she failed to maintain a proper look out for other vehicles or conditions on the highway or
to pay attention to where she was heading;

In that she failed to apply her brakes in time or in a sufficient fashion so as to avoid the collision;

In that she failed to sound her horn or to make any attempt whatsoever to give the plaintiff a
timely warning of the impending collision;

In that she failed to turn her vehicle in order to avoid the collision;
In that she failed to otherwise use proper precautions or measures to avoid the collision;
In that she failed to remain awake and alert during her operation of said vehicle;

In that she operated her motor vehicle at a rate of speed greater than what was reasonable in
light of the width, traffic and use of the highway in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of Connecticut General Statutes Section 14-240;

In that she failed to grant the right of way to the motor vehicle operated by the plaintiff in
violation of the common law.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, JAMES RICCIO, suffered the following painful and serious personal injuries, some or all
of which may be permanent in nature:

Injury to the cervical spine;

Radiculopathy into the right upper extremity;

Associated physical pain and suffering.

 
(203) 787-0275 - JURIS NO. 34876

LYNGH, FRAUB, KEEFE AND ERRANTE, P.C.
ATTORNEYS AT LAW - P.O, BOX 1612 - NEW HAVEN, CT 06505-1612

 

 

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As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, JAMES RICCIO, has suffered and continues to suffer mental anguish, frustration and
anxiety over the fact that he was and remains injured.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, JAMES RICCIO, has incurred and will continue to incur in the future, expenses for
medical care and treatment, including medication, x-rays, diagnostic testing, treatment and
therapy, all of which has caused him and will continue to cause him loss and damage.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, JAMES RICCIO, was unable to perform the duties of his occupation as he had prior to
the above collision, which caused him financial loss and damage.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, JAMES RICCIO, has suffered and will continue to suffer a decrease in his capacity to
engage in and life’s activities as he was able to do prior to the motor vehicle accident.

The defendant, NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON NATIONAL
INSURANCE COMPANY, is an insurance company authorized to do business in the state of
Connecticut. In 2016, it was in the business of entering into automobile insurance contracts with
persons who owned and/or operated motor vehicles.

At all relevant times hereto, the plaintiff, JAMES RICCIO, had an insurance policy with the
defendant in which all the insurance premiums were paid in full and the policy was in full force

and effect as of the date of the plaintiff's injury which included uninsured /underinsured motorist

 
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- NEW HAVEN, CT 06506-1612

(203) 787-0275 - JURIS NO. 34876

LYNCH, TRAUB, KEEFE AND ERRANTE
ATTORNEYS AT LAW - P.O. BOX 1612

 

 

 

 

 

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Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 12 of 17

coverage.
Ai all relevant times hereto, the primary tortfeasor was either uninsured or did not have sufficient
coverage to fully compensate the plaintiff for his injuries.

At all relevant times hereto, the plaintiff, JAMES RICCIO, was an insured under said policy with
the defendant, NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON NATIONAL
INSURANCE COMPANY.

At all relevant times hereto, the defendant, NATIONAL GENERAL INSURANCE COMPANY
D/B/A INTEGON NATIONAL INSURANCE COMPANY, is required to make payment to the
plaintiff pursuant to Connecticut General Statutes Section 38a-336.

COUNT SIX — ON BEHALF OF MADELINE RICCO

AS TO NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON NATIONAL INSURANCE

COMPANY FOR UNINSURED/UNDERINSURED MOTORIST COVERAGE

On or about February 5, 2016 at approximately 4:21 p.m., JAMES RICCIO was operating a
motor vehicle southbound on State Street at its intersection with Grove Street, in New Haven,
Connecticut.

At all relevant times hereto, the plaintiff, MADELINE RICCO, was a front passenger in the motor
vehicle operated by JAMES RICCIO.

At the same time and place, JANINE ROCHELEAU was operating a motor vehicle southbound on

State Street, at its intersection with Grove Street, in New Haven, Connecticut.

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~ P.O, BOX 1612 - NEW HAVEN, CT 06506-1612

LYNCH, TRAUB, KEEFE AND ERRANTE

ATTORNEYS AT LAW

(203) 787-0275 - JURIS NO. 34876

 

 

 

 

 

 

 

 

 

 

Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 13 of 17

At the same time and place, while at lawful stop, the vehicle operated by JAMES RICCIO was
suddenly and without warning, struck from behind by the motor vehicle operated by JANINE
ROCHELEAU, causing a collision between the two vehicles.

The aforesaid collision was caused by the negligence of the JANINE ROCHELEAU in one or

more of the following ways:
In that she failed to keep her vehicle under proper and reasonable control;

In that she failed to maintain a proper look out for other vehicles or conditions on the highway or
fo pay attention to where she was heading;

In that she failed to apply her brakes in time or in a sufficient fashion so as to avoid the collision;

In that she failed to sound her horn or to make any attempt whatsoever to give the plaintiff a
timely warning of the impending collision;

In that she failed to turn her vehicle in order to avoid the collision;
In that she failed to otherwise use proper precautions or measures to avoid the collision;
In that she failed to remain awake and alert during her operation of said vehicle;

In that she operated her motor vehicle at a rate of speed greater than what was reasonable in
light of the width, traffic and use of the highway in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of the common law;

In that she followed the rear of the motor vehicle operated by the plaintiff too closely such that
she could not avoid the collision in violation of Connecticut General Statutes Section 14-240;

In that she disregarded a red traffic control signal controlling the direction she was traveling in, in
Violation of the common law;

In that she failed to grant the right of way to the motor vehicle operated by the plaintiff in
violation of the common law.

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- P.O. BOX 1612 - NEW HAVEN, CT 06506-1612

(203) 787-0275 ~ JURIS NO. 34876

LYNCH, TRAUB, KEEFE AND ERRANTE
ATTORNEYS AT LAW

 

 

 

 

 

 

 

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As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, MADELINE RICCO, suffered the following painful and serious personal injuries, some or
all of which may be permanent in nature:

a. Injury to the thoracic spine;

b. Injury to the lumbar spine;

c. Left sided rib pain;

d. Left lower extremity radicular symptoms;

e. Associated physical pain and suffering.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, MADELINE RICCO, has suffered and continues to suffer mental anguish, frustration and
anxiety over the fact that she was and remains injured.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, MADELINE RICCO, has incurred and will continue to incur in the future, expenses for
medical care and treatment, including medication, x-rays, diagnostic testing, treatment and
therapy, all of which has caused her and will continue to cause her loss and damage.

As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, MADELINE RICCO, was unable to perform the duties of her occupation as she had prior

to the above collision, which caused her financial loss and damage.

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(203) 787-0275 - JURIS NO. 34876

LYNCH, TRAUB, KEEFE AND ERRANTE
ATTORNEYS AT LAW - P.O, BOX 1612 - NEW HAVEN, CT 0650

 

 

 

 

 

 

 

 

 

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As a direct and proximate result of the aforesaid negligence of JANINE ROCHELEAU, the
plaintiff, MADELINE RICCO, has suffered and will continue to suffer a decrease in her capacity
to engage in and life’s activities as she was able to do prior to the motor vehicle accident.

The defendant, NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON NATIONAL
INSURANCE COMPANY, is an insurance company authorized to do business in the state of
Connecticut. In 2016, it was in the business of entering into automobile insurance contracts with
persons who owned and/or operated motor vehicles.

At all relevant times hereto, the plaintiff, MADELINE RICCO, had an insurance policy with the
defendant in which all the insurance premiums were paid in full and the policy was in full force
and effect as of the date of the plaintiff's injury which included uninsured/underinsured motorist
coverage.

At all relevant times hereto, the primary tortfeasor was either uninsured or did not have sufficient
coverage to fully compensate the plaintiff for her injuries.

At all relevant times hereto, the plaintiff, MADELINE RICCO, was an insured under said policy
with the defendant, NATIONAL GENERAL INSURANCE COMPANY D/B/A INTEGON
NATIONAL INSURANCE COMPANY.

At all relevant times hereto, the defendant, NATIONAL GENERAL INSURANCE COMPANY
D/B/A INTEGON NATIONAL INSURANCE COMPANY, is required to make payment to the

plaintiff pursuant to Connecticut General Statutes Section 38a-336.

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(203) 787-0275 - JURIS NO. 34876

 

LYNCH, TRAUB, KEEFE AND ERRANTE
ATTORNEYS AT LAW - P.O. BOX 1612 - NEW HAVEN, CT 06a

 

 

 

Case 3:18-cv-00492-AWT Document 1-1 Filed 03/23/18 Page 16 of 17

WHEREFORE, the plaintiffs claim:
1. Compensatory damages;
2. Such other and further relief as law and equity may provide.

THE PLAINTIFFS,

 

LOUIS M. RUBANO, ESQ.
JURIS: 0348

LYNCH, TRAUB) KEEFE & ERRANTE, P.C.
52 TRUMBULINGTREET, POB 1612
NEW HAVEN, CT 06510

JURIS: 034876

TEL. (203) 787 0275

FAX: (203) 782 0278

The plaintiffs claim compensatory damages in excess of FIFTEEN THOUSAND ($15,000.00) DOLLARS
exclusive of interest and costs.

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Case 3:

 

 

 

 

 

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